                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
LARENDA KERN,

                          Plaintiff,
                                                    Case No. 21-cv-336-pp
      v.

MIDLAND CREDIT MANAGEMENT,

                        Defendant.
______________________________________________________________________________

        ORDER DIRECTING PARTIES TO FILE RULE 26(f) REPORT
______________________________________________________________________________

      Fed. R. Civ. P. 26(f) requires that, as soon as practicable, the parties
must meet to discuss the nature and basis of their claims and defenses, the
possibilities for prompt settlement, the timing for the initial disclosures
required by Rule26(a)(1), and a proposed discovery plan.

       During this meeting the court urges the parties to discuss whether they
need a protective order, and if so, to consider jointly requesting the order. The
parties must use the proposed order template at the end of the court’s local
rules (available at https://www.wied.uscourts.gov). If there is some reason the
parties cannot use the template order or must deviate from the order, they
must inform the court in their motion for protective order. The court also urges
the parties to discuss stipulating to protocols for remote depositions and using
the form stipulation and proposed order available on the COVID-19 page of the
court’s website under “Resources.” Finally, the court encourages the parties to
discuss the impact, if any, of the COVID-19 outbreak on the parties’ ability to
participate in discovery during the early stages of the litigation. Counsel should
share observations and conclusions with the court in the plan.

       On or before June 16, 2021, the parties must file a joint, written report
outlining their discovery plan—including proposed dates where applicable. The
plaintiff’s counsel is responsible for filing the report, and for providing a copy to
opposing counsel. If the parties are not able to agree on the terms of a joint
report, they may file separate reports.

      In addition to the discovery plan, the report shall include the following:

      1.      A brief statement of the nature of the case;


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      2.      Whether the parties expect to amend the pleadings;

      3.      Whether the parties anticipate joining other parties;

      4.      The nature of the discovery each party contemplates, and the
              amount of time the parties believe they need to complete that
              discovery;

      5.      Any motions the parties contemplate;

      6.      The estimated length of trial;

      7.      Whether any party is requesting a jury trial;

      8.      A statement of any other issues that might impact trial scheduling;
              and

      9.      A statement attesting to the fact that the parties have discussed
              each of the above issues.

      The court will not set dates for a final pretrial conference or trial until
dispositive motions have been decided.

     If, after review of the Rule 26(f) report, the court decides a Rule 16
scheduling conference is necessary, it will contact the parties to set a hearing.

      If the parties are interested in mediation facilitated by a magistrate judge
at any point in the pretrial process, they should contact the court immediately
to request a referral.

      Dated in Milwaukee, Wisconsin this 17th day of May, 2021.

                                 BY THE COURT


                                 _____________________________________________
                                 HON. PAMELA PEPPER
                                 Chief United States District Judge




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